Case 2:04-cr-20115-JWL-JPO         Document 604       Filed 10/03/06    Page 1 of 4




                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,

               Plaintiff,

               v.                                         Case No. 04-20115-JWL-20

 NORMA J. RENTERIA,

            Defendant.
 ______________________________________


                             MEMORANDUM AND ORDER

        Defendant Norma J. Renteria was convicted of conspiracy to possess with intent to

 distribute controlled substances and use of a communication facility to facilitate a drug

 trafficking crime. The court sentenced Ms. Renteria to ten years imprisonment. She

 subsequently filed, via new counsel, a Motion to Alter or Amend Judgment Pursuant to Rule

 59(e) (doc. # 539). In this motion, she contends that because of language difficulties she and

 her trial counsel did not communicate accurately with respect to sentencing issues, and that

 she believes certain evidence and briefing should have been offered in support of her position

 that she was entitled to “safety valve” consideration. For the reasons explained below, Ms.

 Renteria’s motion is granted in part and the court hereby orders the parties to submit

 supplemental briefing.

        The government urges the court to deny Ms. Renteria’s motion for the sole reason that

 it is procedurally improper because Rule 59(e) of the Federal Rules of Civil Procedure does
Case 2:04-cr-20115-JWL-JPO         Document 604       Filed 10/03/06     Page 2 of 4




 not apply to this criminal matter; rather, it appears that Ms. Renteria is attempting to

 collaterally attack her sentence by alleging ineffective assistance of counsel at sentencing

 and, therefore, the court should allow Ms. Renteria to file a motion pursuant to 28 U.S.C. §

 2255 and require Ms. Renteria to set forth with specificity therein the manner in which

 former counsel’s performance was deficient. Although the government is correct that Fed.

 R. Civ. P. 59(e) technically does not apply to this criminal matter, federal courts recognize

 motions to reconsider pursuant to the common law doctrine recognized in United States v.

 Healy, 376 U.S. 75 (1964). See also United States v. Dieter, 429 U.S. 6 (1976) (“The Court

 of Appeals’ concern with the lack of a statute or rule expressly authorizing treatment of a

 post-dismissal motion . . . ignores our having grounded our decision in Healy, not on any

 express authorization . . . but rather on ‘traditional and virtually unquestioned practice.’”).

 As such, this court recognizes a motion to reconsider filed within the time for filing a notice

 of appeal, United States v. Martinez, 681 F.2d 1248, 1252 (10th Cir. 1982), as was the case

 here. Where such a motion asks the court to reconsider a dispositive ruling, it is essentially

 treated the same as a motion to alter or amend a judgment in the civil context under Fed. R.

 Civ. P. 59(e). See United States v. Anderson, 85 F. Supp. 2d 1084, 1109 (D. Kan. 1999).

 Such a motion must be based on (1) an intervening change in controlling law, (2) the

 availability of new evidence, or (3) the need to correct clear error or prevent manifest

 injustice. Servants of Paraclete v. Does, 204 F.3d 1005, 1012 (10th Cir. 2000). Thus a

 motion for reconsideration is appropriate where the court has misapprehended the facts, a



                                               2
Case 2:04-cr-20115-JWL-JPO         Document 604       Filed 10/03/06    Page 3 of 4




 party’s position, or the controlling law. Id. It is not appropriate to revisit issues already

 addressed or advance arguments that could have been raised previously. Id.

        Neither party has addressed the applicable legal standard and therefore the court is

 unable to evaluate whether Ms. Renteria might be entitled to relief. Accordingly, Ms.

 Renteria is hereby directed to file a supplemental brief no later than November 3, 2006,

 setting forth the precise grounds upon which she believes she is entitled to relief. The

 government shall file its response thereto no later than November 17, 2006, and Ms. Renteria

 may file a reply no later than November 30, 2006. The parties should be mindful that the

 court is only granting Ms. Renteria’s motion to the extent that she requests an opportunity

 to present further briefing and evidence in support of her position. The court is not at this

 time granting that aspect of Ms. Renteria’s motion in which she seeks a new sentencing

 hearing. The court will not be inclined to grant that aspect of the motion unless the parties’

 supplemental briefing persuades the court that Ms. Renteria might be entitled to relief under

 the standard applicable to a motion for reconsideration.



        IT IS THEREFORE ORDERED BY THE COURT that defendant Norma

 Renteria’s Motion to Alter or Amend Judgment Pursuant to Rule 59(e) (doc. #539) is granted

 in part as set forth above.




                                               3
Case 2:04-cr-20115-JWL-JPO   Document 604     Filed 10/03/06    Page 4 of 4




       IT IS SO ORDERED this 3rd day of October, 2006.



                                            s/ John W. Lungstrum
                                            John W. Lungstrum
                                            United States District Judge




                                        4
